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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MASSACHUSETTS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Tri-Wire Engineering Solutions, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  5 Gill Street
                                  Woburn, MA 01801
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Middlesex                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://triwire.net


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Tri-Wire Engineering Solutions, Inc.                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 2382

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Tri-Wire Engineering Solutions, Inc.                                                            Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999


15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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Debtor   Tri-Wire Engineering Solutions, Inc.                                         Case number (if known)
         Name

                               $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                               $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                               $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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                                SECRETARY’S CERTIFICATE


        I, Ruben V. Klein, hereby certify that:

        1.      I am the Secretary of Tri-Wire Engineering Solutions, Inc. (the “Company”), a

corporation organized under the laws of the Commonwealth of Massachusetts.

        2.    On September 11, 2021, the Company’s board of directors, acting in accordance with the

 Company’s articles of organization and by-laws and the governing provisions of Massachusetts

 corporate law, adopted the resolutions set forth on attached Exhibit A (the “Resolutions”) by

unanimous written consent.

        3.      The Resolutions have not been modified or rescinded in any respect, and remain

in full force and effect.




Dated: September ___, 2021                    ________________________________
                                                    Ruben V. Klein, Secretary
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                                      Exhibit A

   RESOLVED: That Tri-Wire Engineering Solutions, Inc. (the “Company”) commence a
             case under Chapter 11 of the United States Bankruptcy Code (the
             “Chapter 11 Case”) with the United States Bankruptcy Court for the
             District of Massachusetts (the “Court”) to address its obligations to its
             creditors;

   FURTHER
   RESOLVED: That the Company be, and is hereby authorized: (i) to prepare and file a
             petition for relief under Chapter 11 of the Bankruptcy Code; (ii) to file
             such petition, schedules and statements as may be necessary or appropriate
             in connection therewith; (iii) to perform its functions and duties as a
             debtor-in-possession pursuant to the applicable provisions of the
             Bankruptcy Code; (iv) to take such steps as may be necessary or
             appropriate to the Company’s Chapter 11 case, including, without
             limitation, negotiating or otherwise obtaining court authority for use of
             cash collateral, post-petition financing, the assumption or rejection of
             executory contracts and unexpired leases, the sale or other disposition of
             property other than in the ordinary course of business, and the
             investigation and prosecution of claims and causes of action held by the
             Company and its bankruptcy estate; (v) to negotiate, prepare and propose
             to creditors such Chapter 11 plan as may be feasible and in the best
             interests of the Company, or alternatively, to seek dismissal or conversion
             to Chapter 7 of the Company’s Chapter 11 case in appropriate
             circumstances; (vi) to file any pleading appropriate or necessary in
             furtherance of the foregoing; and (vii) to execute such further documents
             and do such further acts as may be necessary or appropriate with respect to
             the foregoing;

   FURTHER
   RESOLVED: That the Company be, and is hereby authorized, to enter into that
             certain Asset Purchase Agreement, dated as of September 13,
             2021, by and between ITG Communications, LLC (“Purchaser”)
             and the Company (the “Purchase Agreement”) providing for,
             among other things, the purchase by the Purchaser of substantially
             all of the assets of the Company as more specifically defined in the
             Purchase Agreement, and further to enter into the other agreements
             and transactions contemplated thereby;


   FURTHER
   RESOLVED: That the Company be, and is hereby authorized, to seek the Court’s
             approval of the sale of substantially all its assets (the “Assets”) on a going
             concern basis, free and clear of liens, claims and interests (the “Sale
             Transaction”) to ITG Communications, LLC or nominee (the “Stalking
             Horse”), or to such other person or entity as may submit the highest and
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                 best offer for the Assets in connection with auction procedures ordered by
                 the Court in connection with its approval of the Sale Transaction;

   FURTHER
   RESOLVED: That the Company be, and is hereby authorized, to enter into debtor-in-
             possession financing arrangements with JPMorgan Chase Bank, N.A. (the
             “Senior Secured Creditor”), pursuant to which the Company shall borrow
             from the Senior Secured Creditor an amount mutually agreed upon by the
             Company and the Senior Secured Creditor on a fully-secured basis and
             otherwise on terms and pursuant to such instruments, documents and
             agreements to be negotiated by the Company and the Senior Secured
             Creditor;

   FURTHER
   RESOLVED: That the Company be and is hereby authorized to retain the law firm of
             Casner & Edwards, LLP (“Casner”) and Michael J. Goldberg, Esq. and A.
             Davis Whitesell, Esq. of that firm as counsel under general retainer to
             advise and represent the Company in all proceedings commenced under or
             resulting from these resolutions, that the Company compensate Casner for
             its services at its hourly rates in effect at the time such services are
             rendered, provided that the Company may agree to pay a premium over or
             obtain a discount from such hourly rates by subsequent agreement with
             Casner, and to reimburse Casner in full for its cash disbursements and for
             such expenses as Casner customarily bills to its clients, and that the
             Company is hereby authorized to enter into such agreements as may be
             necessary or appropriate to effect such retention;

   FURTHER
   RESOLVED: That the Company be and is hereby authorized to retain the financial
             advisory and turnaround consulting firm of Getzler Henrich & Associates
             LLC (“Getzler”) and Robert A. Kuhn, Mark Podgainy and William
             Henrich of that firm as financial advisor and turnaround consultant under
             general retainer to advise the Company in all matters relating to the
             proceedings commenced under or resulting from these resolutions, that the
             Company compensate Getzler for its services at its hourly rates in effect at
             the time such services are rendered, provided that the Company may cause
             the Company to agree to pay a premium over or obtain a discount from
             such hourly rates by subsequent agreement with Getzler, and to reimburse
             Getzler in full for its cash disbursements and for such expenses as Getzler
             customarily bills to its clients, and that the Company is hereby authorized
             to enter into such agreements as may be necessary or appropriate to effect
             such retention;

   FURTHER
   RESOLVED: That the Company be and is hereby authorized to retain the investment
             banking firm SSG Advisors, LLC (“SSG”) and J. Scott Victor and Teresa
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                 C. Kohl of that firm as investment banker to advise the Company and to
                 pursue on the Company’s behalf such Sale Transaction, that the Company
                 compensate SSG for its services and reimbursable expenses on such terms
                 and conditions as the Company deems appropriate, and that the Company
                 is hereby authorized to enter into such agreements as may be necessary or
                 appropriate to effect such retention.

   FURTHER
   RESOLVED: That Ruben V. Klein, President of the Company (in such capacity,
             “Authorized Officer”), be and hereby is authorized and directed, in the
             name of and on behalf of the Company, and as its corporate act, to execute
             and deliver any and all documents, to make all such arrangements, to do
             and perform all such acts and things, to execute and deliver all such
             certificates and other instruments, and to do everything that each may
             deem necessary or appropriate in order to implement fully each and all of
             the foregoing resolutions, including the delegation of such foregoing
             authority to other officers and employees of the Company or to attorneys,
             financial advisors, accountants, or other professionals employed by the
             Company, the execution of any document or the doing of any act by the
             Authorized Officer or any such delegate in connection with such
             proceedings to be conclusively presumed to be authorized by this
             resolution; and

   FURTHER
   RESOLVED: That any action previously taken by the Authorized Officer in accordance
             with the foregoing resolutions be and hereby is ratified and approved in its
             entirety.
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 Fill in this information to identify the case:

 Debtor name         Tri-Wire Engineering Solutions, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          September 13, 2021                      X /s/ Ruben V. Klein
                                                                       Signature of individual signing on behalf of debtor

                                                                       Ruben V. Klein
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Tri-Wire Engineering Solutions, Inc.
 United States Bankruptcy Court for the: DISTRICT OF MASSACHUSETTS                                                                                    Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 John Wade, III                  Stephen D.      Sale of Stock,                         Disputed                                                                    $24,372,282.00
 10 Acorn Drive                  Rosenberg       Subject to
 Andover, MA 01810                               subordination per
                                 srosenberg@wagn 11 U.S.C. § 510(b)
                                 erlawgroup.com
                                 617-357-5200
 Massachusetts                   Dan Corcoran    Secured Lender                                                                                                       $7,400,000.00
 Capital Resource Co
 420 Boylston Street             dcorcoran@massc
 #5                              apital.com
 Boston, MA 02116                617-337-2803
 JPMorgan Chase                  Stacy Benham                   Secured Lender                                 $10,714,135.40              $8,800,000.00              $1,914,135.40
 Bank, N.A.
 50 Rowes Wharf                  stacy.c.benham@c
 Floor 02                        hase.com
 Boston, MA 02110                617-428-2172
 Massachusetts                   Chuck Merrill    Secured Lender                                                                                                        $870,370.00
 Growth Capital Corp
 529 Main Street                 cmerrill@massgcc.
 Suite 201                       com
 Charlestown, MA                 617-337-2803
 02129
 Enterprise Fleet                Tara Spencer                   Balance due                                                                                             $132,666.38
 Services
 10 Second Avenue                Tara.C.Spencer@ef
 Burlington, MA                  leets.com
 01803                           781-552-5334
 Eris Prime, LLC                 Nicolae Mihailov  Subcontractor                                                                                                        $106,127.87
 9701 E 50th Street
 Kansas City, MO                 erisprimellc@gmail
 64133                           .com
                                 605-390-4905
 Nicholas Tensen                 Nicholas Tensen    Severance                                                                                                             $86,250.00
 169 Sagamore
 Street            nicholastensen@g
 South Hampton, MA mail.com
 01982             973-229-3739


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Tri-Wire Engineering Solutions, Inc.                                                               Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Pro-Tech                        Timothy Sumler                 Subcontractor                                                                                             $66,636.61
 Communications,
 LLC                             t.sumler@pro-tech
 18 Wooster St.                  communicationsllc.
 Bethel, CT 06801                com
                                 203-512-4787
 Merchants                       Robert Singer      Vehicle Leasing                                                                                                       $66,190.51
 Automotive Group
 14 Central Park                 robertsinger@merc
 Drive                           hantsfleet.com
 First Floor                     603-695-9218
 Hooksett, NH 03106
 Multiplex Network               Florea Andrei                  Subcontractor                                                                                             $61,782.48
 Inc.
 324 Tudor Lane                  info@multiplexnet
 Middle Island, NY               work.com
 11953                           631-449-0093
 John Marsh                      John Marsh                     Severance                                                                                                 $60,000.00
 2 Colleen Drive
 Salem, NH 03079                 jemarsh1@comcas
                                 t.net
                                 631-774-7829
 BDO USA, LLP                    Pat Carey       Professional                                                                                                             $55,089.25
 One International
 Place                           pcarey@bdo.com
 Boston, MA 02110                617-422-0700
 TeamLogic IT                    Andy Hackett                   IT                                                                                                        $52,727.74
 12 Tower Office
 Park                            ahackett@teamlogi
 Woburn, MA 01801                cit.com
                                 781-791-3016
 Star Linesmen, LLC              Walter Jones      Subcontractor                                                                                                          $52,544.06
 4009 Hill Avenue
 Bronx, NY 10466                 starlinesmen@gma
                                 il.com
                                 718-249-5097
 Demar Group Corp.               Roman Makhov     Subcontractor                                                                                                           $51,802.12
 2323 Locust St. #509
 Saint Louis, MO      demargroup@gmai
 63103                l.com
                      773-397-4432
 Global               Elsion Shima      Subcontractor                                                                                                                     $48,367.20
 Communications
 Group                globalcommunicati
 950 So. George       onsgroupllc@gmail
 Mason Drive          .com
 #548                 202-341-7029
 Arlington, VA 22204
 Marie Wade           Marie Wade        Severance                                                                                                                         $41,250.00
 70 Navilus Road
 Tewksbury, MA        unknown
 01876                unknown


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    Tri-Wire Engineering Solutions, Inc.                                                               Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Tech Tool Supply                N/A                            Supplier                                                                                                  $40,901.38
 9060 General Drive
 Plymouth, MI 48170              N/A
                                 877-208-6657
 MK-1                            Ken Ma                         Subcontractor                                                                                             $40,439.35
 Communication Inc.
 3065 Chestnut Hill              mkoneken@hotmai
 Drive                           l.com
 Ellicott City, MD               443-538-9088
 21043
 backgroundchecks.               N/A                            Balance due                                                                                               $40,278.47
 com
 PO Box 538453                   N/A
 Atlanta, GA                     866-265-6602
 30353-8453




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                                               United States Bankruptcy Court
                                                                       District of Massachusetts
 In re      Tri-Wire Engineering Solutions, Inc.                                                                      Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Spinnaker Trust                                                                      100%
 as Trustee of the Tri-Wire Employee
 Stock Option Trust
 123 Free Street
 Portland, ME 04101


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date September 13, 2021                                                     Signature /s/ Ruben V. Klein
                                                                                            Ruben V. Klein

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
                 Case 21-11322                    Doc 1          Filed 09/13/21 Entered 09/13/21 14:25:52           Desc Main
                                                                  Document     Page 16 of 39




                                                               United States Bankruptcy Court
                                                                     District of Massachusetts
 In re      Tri-Wire Engineering Solutions, Inc.                                                  Case No.
                                                                                 Debtor(s)        Chapter      11




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       September 13, 2021                                       /s/ Ruben V. Klein
                                                                      Ruben V. Klein/President
                                                                      Signer/Title




Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                            Best Case Bankruptcy
1001 Grant LLCCase 21-11322      Doc 1 Access
                                        Filed 09/13/21 Entered 09/13/21 14:25:52    Desc Main
                                                                           Ahlstrom Schaeffer Electric Corp.
647 James St.                            Document
                                       P.O. Box 782998 Page 17 of 39       46 Hopkins Ave
Lakewood, NJ 08701                       Philadelphia, PA 19178-2998           Jamestown, NY 14701

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216 Tingley Partners, LLC                Action Environmental Services         AIG -- Adjustment Details
1067 NC Highway 73                       PO Box 554744                         PO Box 10472
West End, NC 27376                       Detroit, MI 48255-4744                Newark, NJ 07193-0472




3A Autobody                              ADP, LLC                              AIG-GL
737 Boston Road                          PO Box 842875                         PO Box 35656
Billerica, MA 01821                      Boston, MA 02284-2875                 Newark, NJ 07193-5656




655 South Willow Commons LLC             ADT - 42                              AIG-WC Claims
670 North Commercial St.                 P.O. Box 371878                       of Pittsburgh, PA
Manchester, NH 03101                     Pittsburgh, PA 15250-7878             PO Box 35657
                                                                               Newark, NJ 07193-5657



80 Smith Street Realty, LLC              ADT Commercial                        AIMG
1600 Caleb Path Extension                (formerly Protection)                 Accurate Imaging, Inc.
Suite 101                                P.O. Box 219044                       1979 Marcus Avenue, Suite 209
Hauppauge, NY 11788                      Kansas City, MO 64121-9044            Lake Success, NY 11042



A & R Field Service Cable Technician Cor ADT Security Services - 51            Alfa Communications Inc.
20 Richman Plaza, Apt. 2B                P.O. Box 371878                       14539 Three Dormers Ct.
Bronx, NY 10453                          Pittsburgh, PA 15250-7878             Woodbridge, VA 22193




A To B Communication, LLC                Advanced Mobile Solutions, LLC        ALFANO, RUSSELL
44 Bruce Avenue                          820-B Taunton Ave.                    33 ELM ST
Berlin, CT 06037                         Seekonk, MA 02771                     SHELTON, CT 06484




A1 Datashred                             Advanced Radiology PA                 All American Monitoring
Seven Box Car Blvd.                      26999 Network Place                   1301 Sarasota Center Blvd
Tewksbury, MA 01876                      Chicago, IL 60673-1269                Sarasota, FL 34240




Aaron's 24/7 Towing & Roll Off Service   Advantage Utilities, LLC              All City Auto LLC
P.O. Box 187                             23 South Main Street                  402 Manida Street
Easthampton, MA 01027                    Newton, NH 03858                      Bronx, NY 10474




Acadia Insurance Company                 AFC Urgent Care Danbury West          All Seasons Promotions
PO Box 639804                            P.O. Box 10417                        801 Perimeter Road
Cincinnati, OH 45263-9804                Holyoke, MA 01041                     Manchester, NH 03103
All Towns Lock Case  21-11322
                 & Door          Doc 1 Antwerpen
                                        Filed 09/13/21
                                                 Collision Entered
                                                           Center  09/13/21 14:25:52    Desc Main
                                                                               backgroundchecks.com
1568 Radcliff Avenue                     Document
                                       12451 Auto Drive Page 18 of 39          PO Box 538453
New York, NY 10462                       Clarksville, MD 21029                 Atlanta, GA 30353-8453




Allen Bockisch                           Anubis Waste Services, Inc            backgroundchecks.com
431 Myrtle Ave                           30 Mayflower Rd                       PO Box 538453
Woodbury, NJ 08096                       Woburn, MA 01801                      Atlanta, GA 30353-8453




Altec Capital Services, LLC              Apple Truck and Trailer               Baltimore County , MD
P.O. Box 100816                          510 Washington Street                 Alarm Reduction Section
Atlanta, GA 30384-0816                   Auburn, MA 01501                      400 Washington Ave., Rm 149
                                                                               Towson, MD 21204



Altec Industries, Inc.                   Arizona Department of Revenue         Baltimore County Maryland
P.O. Box 11407                           PO Box 29079                          Automated Photo Enforcement Pgm
Birmingham, AL 35246-0414                Phoenix, AZ 85038-9079                P.O. Box 35131
                                                                               Baltimore, MD 98124-5131



Altice                                   Arizona Department of Revenue         BankDirect Capital Finance
1111 Steward Ave                         PO Box 29086                          150 North Field Drive
Bethpage, NY 11714-3581                  Phoenix, AZ 85038-9086                Suite 190
                                                                               Lake Forest, IL 60045



Ameri-Best Carpet Cleaning               Ascentium Capital LLC                 BankDirect Capital Finance
14 Hemlock Street                        P.O. Box 301593                       PO Box 660448
Bristol, CT 06010                        Dallas, TX 75303-1593                 Dallas, TX 75266-0448




American Alarm and Communications, Inc   Atlas Cable Solutions                 Barnstable County Sheriff's Office
297 Broadway                             4772 N Citation Dr., Apt. 103         6000 Sheriff's Place
Arlington, MA 02474                      Delray Beach, FL 33445                Bourne, MA 02532




American Express                         Automotive Technology & Towing        Barnstable Police Deparment
PO BOX 650448                            737 Boston Road                       ATTN: Heide Anicki
Dallas, TX 75265-0448                    Billerica, MA 01821                   PO Box B
                                                                               Hyannis, MA 02601



Amerigas                                 Axis Surplus Insurance Company        BB&T Commercial Equipment Capital
PO Box 660288                            Deductible Collections                Attn: Accounts Receivable Dept.
Dallas, TX 75266-0288                    P.O. Box 4470                         P.O. Box 896534
                                         Alpharetta, GA 30023                  Charlotte, NC 28289-6534



Amica Mutual Insurance Company           Azuga Inc.                            BDO USA, LLP
1 Amica Center Boulevard                 PO Box 399274                         One International Place
Providence, RI 02940                     San Francisco, CA 94139-9274          Boston, MA 02110
BDO USA, LLP    Case 21-11322      Doc 1 Brattleboro
                                          Filed 09/13/21        Entered 09/13/21 14:25:52
                                                      Parking Enforcement                    DescSystems,
                                                                                    Casella Waste  Main Inc.
PO Box 642743                            77Document
                                             Flat Street, SuitePage
                                                                101 19 of 39        P.O. Box 1372
Pittsburgh, PA 15264-2743                  Brattleboro, VT 05301                   Williston, VT 05495-1372




Bellmark Partners, LLC                     Bridgewater State University            Casner & Edwards, LLP
75 Central St.                             131 Summer Street, Boyden #109          303 Congress St.
Suite 4                                    Bridgewater, MA 02325                   Boston, MA 02210
Boston, MA 02109



BGE - 40                                   Broadband Access Services, Inc.         Catherine Spinelli
PO Box 13070                               1667 White Mountain Hwy.                Eight Cobblers Lane
Philadelphia, PA 19101-3070                Sanbornville, NH 03872                  No. Reading, MA 01864




BizFilings                                 Broadcom Technicial Group, LLC          Caton Auto Clinc, Inc.
39922 Treasury Center                      28 Hattie Ln.                           6013 Baltimore National Pike
Chicago, IL 60694-9900                     Billerica, MA 01821                     Catonsville, MD 21228




Black Lab Alarm, Inc.                      Cable Comm Connect, LLC                 Cavcomm, LLC
300 Wildwood Ave.                          9A Victoria Gardens                     66 Leonardo Drive
Suite 220                                  Framingham, MA 01701                    North Haven, CT 06473
Woburn, MA 01801



Blue Cross / Blue Shield of Mass           Cable Connection & Supply Co., Inc      CCM & Supply Co. LLC
PO Box 371318                              1505 30th St. NW                        360 Kelley Street
Pittsburgh, PA 15250                       Faribault, MN 55021                     Manchester, NH 03102




Blue Cross Blue Shield of Mass             Caliber Collision                       CCMSI
PO Box 371318                              Chippenham Square                       ATT: Treasury Department
Pittsburgh, PA 15250                       7528 Midlothian Turnpike                2 East Main St. Suite 208
                                           Richmond, VA 23225                      Danville, IL 61832



BMO Telecom Inc.                           Cape Medical Supply, Inc.               CCMSI -- Admin Fees
14449 Begonia Road, Apt. 130               28 Jan Sebastian Drive                  P.O. Box 2205
Victorville, CA 92392                      Sandwich, MA 02173                      Indianapolis, IN 46206-2205




Bob & Fred Collision, Inc.                 Capital Trustees, LLC                   CDW Direct, LLC
309 Broadway                               17 S 2nd St, #301                       PO Box 75723
Bethpage, NY 11714                         Harrisburg, PA 17101                    Chicago, IL 60675-5723




Boston Employment Law PC                   Caron & Bletzer, PLLC                   Charles County Government - Red Li
202 Washington Street, Suite 128           1 Library Ln.                           Red Light Citations
Brookline, MA 02445                        Kingston, NH 03848                      PO Box 1660
                                                                                   Waldorf, MD 20604-1660
Charles EnglandCase 21-11322      Doc 1 City
                                         Filedof 09/13/21
                                                  Baltimore Entered 09/13/21 14:25:52     Desc
                                                                                City of Fall     Main
                                                                                              River
4637 Upper Beckleysville Road             Document
                                        Director  of Finance Page 20 of 39      Traffice Department
Hampstead, MD 21074                      P.O. Box 13327                             Room 324
                                         Baltimore, MD 21203                        Fall River, MA 02722



Charlette Hallworth                      City of Baltimore-Taxes                    City of Hartford
1456 NE Ocean Blvd. 12-203               200 Holiday St.                            Office of Management & Budget
Stuart, FL 34996                         Baltimore, MD 21202-3618                   550 Main Street, Suite 303
                                                                                    Hartford, CT 06103



Charlies Lasher Repair Shop              City of Boston                             City of Lynn
1007 Loudon Ridge Road                   P.O. Box 55801                             Office of Parking Clerk
Loudon, NH 03307                         Boston, MA 02205-5801                      Lynn City Hall - Room 102
                                                                                    Lynn, MA 01901



Charter Communications                   City of Boston - Fleet Unit                City of New Bedford -Parking Clerk
PO Box 7173                              Parking Clerk Rm. 224                      Parking Clerk
Pasadena, CA 91109-7173                  Boston, MA 02201                           51 Elm St.
                                                                                    New Bedford, MA 02740



Charter Street LLC                       City of Boston - Violations                City of New Britain
PO Box 5023                              Parking Clerk, Rm. 224                     Finance Dept - Yvette
Newburyport, MA 01950                    One City Hall Square                       27 West Main Street
                                         Boston, MA 02201                           New Britain, CT 06051



Chesapeake Urology Associates            City of Boston -- Police Details           City of Philadelphia - Violations Bran
PO Box 829922                            Treasury Department                        Parking Violations Branch
Philadelphia, PA 19182                   P.O. Box 9715                              P.O. Box 41818
                                         Boston, MA 02114                           Philadelphia, PA 19101



Christain Mazique                        City of Brockton - Ticket                  City of Richmond
8786 North Creek, Apt. 8-11              Office of the Parking Clerk                Department of Public Utilities
Southaven, MS 38671                      P.O. Box 203                               PO Box 71210
                                         Milford, MA 01757                          Charlaotte, NC 28272-1210



Christopher Creps                        City of Burlington                         City of Somerville
15 Denny D Lane                          Burlington Police Department               Office Of Parking Clerk
Mount Pleasant, PA 15666                 One North Avenue                           PO Box 9102
                                         Burlington, VT 05401                       Somerville, MA 02143-9102



Christopher Mulhern                      City of Chelsea, MA (Parking Violations)   City of Stamford
135 Nightingale Sq                       500 Broadway                               PO Box 120059
Mayslanding, NJ 08330                    Room 209                                   Stamford, CT 06912-0059
                                         Chelsea, MA 02150



City Medical of Upper East Side          City of Concord, NH                        City of Woburn Collector of Taxes
PO Box 117091                            Concord Police Department                  Collectors Office
Atlanta, GA 30368                        35 Green St.                               P.O. Box 227
                                         Concord, NH 03301                          Woburn, MA 01801
City of YonkersCase 21-11322       Doc 1 Commonwealth
                                          Filed 09/13/21   Entered 09/13/21 14:25:52
                                                       of Mass-DOR                        Desc
                                                                               Constitution StateMain
                                                                                                  Services, LLC
Parking Violations Bureau                PODocument
                                             Box 55140    Page 21 of 39        c/o Bank of America
87 Nepperhan Ave -2nd floor                Boston, MA 02205-5140                      7529 Collections Center Drive
Yonkers, NY 10701-3818                                                                Chicago, IL 60693



Clean Harbors Environmental Services       Commonwealth of Massachusetts-Pay by Pla Core Solutions Network LLC
P.O. Box 734867                            EZDriveMA Payment Processing Center      25 Winston Cir.
Dallas, TX 75373-4867                      P.O. Box 847840                          Haverhill, MA 01830
                                           Boston, MA 02284-7840



Clearview Auto Glass & Tint                Comptroller of Maryland                    Cory Patten's Auto and Truck Works
2042 N Howard Street                       Office of Administration and Finance       PO Box 1007
Baltimore, MD 21218                        PO Box 466                                 Newport, NH 03773
                                           Annapolis, MD 21404-0466



CNA Surety                                 Comptroller of Maryland                    Cottle's Asphalt Maintenance Inc.
P.O. Box 957312                            Compliance Division                        13136 Lincoln Highway
St. Louis, MO 63195-7312                   301 W. Preston Street, Room 409            Everett, PA 15537
                                           Baltimore, MD 21201-2383



Cobblers Hill Group                        Comstar Supply, Inc                        Coverall North America, Inc - 03
43 Valley Forge Rd.                        105 Kestrel Drive                          2955 Momentum Place
Weston, CT 06883                           Collegeville, PA 19426                     Chicago, IL 60689




Comcast                                    Conex                                      Crimshield.com
PO Box 70219                               PO Box 701                                 P.O. Box 5960
Philadelphia, PA 19176-0219                Moody, ME 04054                            Mesa, AZ 85211




Comcast - 98 (VOIP)                        Connecticut Department of Labor            Crocker Communications, Inc.
PO Box 37601                               Delinquent Accounts Unit                   PO Box 710
Philadelphia, PA 19101-0601                200 Folly Brook Blvd.                      Greenfield, MA 01302-0710
                                           Wethersfield, CT 06109



Comcast - Badges                           Connecticut Department of Revenue Servic   Crown Equipment Corporation
Attn: Donna Swansen                        Collections Unit Bankruptcy Team           PO Box 641173
5 Omni Way                                 450 Columbus Boulevard, Suite 1            Cincinnati, OH 45264-1173
Chelmsford, MA 01824                       Hartford, CT 06103



Command Corporation                        Consolidated Communications                CSC Holding, LLC (fka Altice)
P.O. Box 832                               2116 South 17th Street                     1111 Stewart Ave.
59 Rainbow Road                            Mattoon, IL 61938                          Bethpage, NY 11714
East Granby, CT 06026



Commonwealth of MA - DIA                   Constangy Brooks, Smith & Prophete         CSG Systems, Inc.
Dept. of Industrial Accidents              Attn: Billing Department                   PO Box 310461
PO Box 3732                                P.O. Box 102476                            Des Moines, IA 50331-0461
Boston, MA 02241-3732                      Atlanta, GA 30368-0476
             Case
CTL4 Real Estate    21-11322
                 Trust         Doc 1 David
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                                                                                    of Unemployment    Assistan
PO Box 480                             Document
                                     Bellmark           Page 22 of 39
                                              Partners, LLC              Legal Department, 1st Floor, Attn. Chie
Cummaquid, MA 02637                    75 Central Street                         19 Staniford Street
                                       4th Floor                                 Boston, MA 02114-2502
                                       Boston, MA 02109

CUES                                   David's Towing                            Dept of Revenue Services - CT
53 Lebanon Road                        738 Main St.                              State of Connecticut
North Franklin, CT 06254               Waltham, MA 02451                         PO Box 2937
                                                                                 Hartford, CT 06104-2937



Cummings Properties, LLC               DaVinci Group Solutions, Inc.             Devine, Millimet & Branch Prof. Asso
200 West Cummings Park                 15 Lincoln Street, Suite 257              Professional Associates
Woburn, MA 01801                       Wakefield, MA 01880                       111 Amherst St. PO Box 719
                                                                                 Manchester, NH 03105



Curry Nissan Chicopee                  DEL PARTNERSHIP                           Direct Energy Business
765 Memorial Drive                     c/o Sterling Management Co.               P.O. Box 70220
Chicopee, MA 01020                     17 S. Belmont Avenue                      Philadelphia, PA 19176-0220
                                       Richmond, VA 23221



Custom Tool Supply                     Delaware Division of Revenue              Director of Finance,City of Baltimore
14309 E 35th Pl.                       820 N. French Street                      Parking Fines Section
Unit 103                               Wilmington, DE 19801                      PO Box 13327
Aurora, CO 80011                                                                 Baltimore, MD 21203



Dardad, LLC                            Delaware Division of Revenue/Bankruptcy   Dirty LLC
PO Box 8081                            Attn: Bankruptcy Administrator            c/o Ryan Stittiams
Greenwich, CT 06836                    Carvel State Building                     1824 Saxony Cv
                                       820 N. French Street, 8th Floor           Cordova, TN 38016
                                       Wilmington, DE 19801

Darren Courturier                      Demar Group Corp.                         Division of Taxation
c/o Jason M. Leviton                   2323 Locust St. #509                      Dept# 88
Block & Leviton                        Saint Louis, MO 63103                     PO Box 9702
260 Franklin St., Suite 1860                                                     Providence, RI 02940-9702
Boston, MA 02110

Dave's Collision                       Demarc Telecom & Utility LLC              Domestic Supply Inc.
3716 Annapolis Rd.                     4 Sandy Circle                            501 Surf Ave., Apt. 14 m
Baltimore, MD 21227                    Pelham, NH 03076                          Brooklyn, NY 11224




Davi Communication                     Department of Labor -- MD                 Dominion Energy Virginia
295 Lake St.                           Div. Unemployment Insurance               PO Box 26543
Newark, NJ 07104                       1100 N. Eutaw St., Room 415               Richmond, VA 23290-0001
                                       Baltimore, MD 21201



David Development LLC                  Department of the Treasury                Donnelly, Conroy & Gelhaar, LLP
PO Box 446                             Internal Revenue Service                  260 Franklin Street, Ste. 1600
Weymouth, MA 02188                     Ogden, UT 84201-0039                      Boston, MA 02110
Dorrell JohnsonCase 21-11322      Doc 1 Elizabeth
                                         Filed 09/13/21     Entered 09/13/21 14:25:52
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3103 Georgetown Road                      Document
                                        208  Commerce PlacePage 23 of 39        9701 E 50th Street
Baltimore, MD 21230                      Elizabeth, NJ 07201                        Kansas City, MO 64133




Duquesne Light Company                   Elizabethtown Gas                          eScreen Inc.
Payment Processing Center                PO Box 6031                                PO Box 734764
P.O. Box 10                              Bellmawr, NJ 08099-6031                    Dallas, TX 75373-4764
Pittsburgh, PA 15230-0010



E-ZPass MA Violation Processing Center   Emkay Inc                                  Eversource
PO Box 8001                              PO Box 13520                               PO Box 56003
Auburn, MA 01501-8001                    Newark, NJ 07188-0520                      Boston, MA 02205-6003




Eagle Star Communications, Inc.          Empire IV Corporation                      Eversource
338 Avon Street                          131-66 221nd Street                        PO Box 56007
Philadelphia, PA 19116                   Springfield GardensG, NY 11413             Boston, MA 02205-6007




Early Contractors, Inc.                  Empire Valuation Consultants               Eversource
50 South Main Street                     777 Canal View Blvd., Suite 200            Columbia Gas of MA
Bradford, MA 01835                       Rochester, NY 14623                        PO Box 55215
                                                                                    Boston, MA 02205-5215



East Farmingdale Water District          Empire Water                               Eversource
PO Box 9044                              46 Cain Drive                              PO Box 56002
Hicksville, NY 11802-9044                Plainview, NY 11803                        Boston, MA 02205-6002




Eastfield Tire & Auto Service            Employment Practices Group                 Evolution Cable
1514 Boston RD                           Eight Rice Street                          14625 Baltimore Ave., #312
springfield, MA 01129                    Wellesley, MA 02481                        Laurel, MD 20707




Edgewater Realty, LLC                    Empower Retirement                         Excel Auto Repair & Sales
421 Bruckner Blvd.                       PO Box 1583                                94 E Falmouth Hwy
Bronx, NY 10455                          Hartford, CT 06144-1583                    East Falmouth, MA 02536




Edison Nissan                            Enterprise Fleet Services                  F&J Service Station INC.
401 Route 1                              10 Second Avenue                           2557 Linden Boulevard
S. Edison, NJ 08817                      Burlington, MA 01803                       Brooklyn, NY 11208




EGC Commercial Snow Service, INC.        Enterprise Fleet Services                  F.C.S.O.
PO Box 1471                              Enterprise Fleet Management Customer Bil   FCSO Process Division
Dudley, MA 01571                         PO Box 800089                              P.O. Box 868
                                         Kansas City, MO 64180-0089                 Greenfield, MA 01302
                Case
Fall River Police     21-11322
                  Department     Doc 1 GCR
                                        FiledCleaning
                                               09/13/21      Entered 09/13/21 14:25:52
                                                       Services                            Desc Main
                                                                                 Harry Charcalis
Attn: Accounts Payable                 19Document
                                           Bishop Street Page 24 of 39           c/o Jason M. Leviton
685 Pleasant St                          Lowell, MA 01852                        Block & Leviton
Fall River, MA 02721                                                             260 Franklin St., Suite 1860
                                                                                 Boston, MA 02110

FedEx                                    George Cancel, Inc.                     High Tech Automotive
P.O. Box 371461                          dba Tele-Networks                       117 West Main St
Pittsburgh, PA 15250-7461                31 Bakewell Ct.                         Norton, MA 02766
                                         Cranston, RI 02921



Fellsway Group                           Georgia Department of Revenue           Hillside TWP Municipal Court
200 Summit Dr                            Compliance Division                     1409 Liberty Avenue
Suite 210                                ARCS - Bankruptcy                       Hillside, NJ 07205
Burlington, MA 01803                     1800 Century Boulevard NE, Suite 9100
                                         Atlanta, GA 30345-3202

FirstLight                               Getzler Henrich                         Hitron Technologies Americas Inc.
359 Corporate Drive                      295 Madison Avenue                      Attn: Accounting Department
Portsmouth, NH 03801                     20th Floor                              15333 Don Julian Rd.
                                         New York, NY 10017                      City of Industry, CA 91745



Flaggers Unlimited Plus                  Global Communications Group             Holbrook MTA Auto Service
66 Leonardo Drive                        950 So. George Mason Drive              397a Union Avenue
North Haven, CT 06473                    #548                                    Holbrook, NY 11741
                                         Arlington, VA 22204



Florida Department of Revenue            Global Communications Group             Horizon Telecommunications, Inc.
PO Box 6668                              950 So. George Mason Dr. #548           2001 Market Street, Suite 2500
Tallahassee, FL 32314-6668               Arlington, VA 22204                     Philadelphia, PA 19103




Florida Department of Revenue            Global Telecom Industries               HUB International New England
Bankruptcy Unit                          1744 Allerford Drive                    PO Box 415284
P.O. Box 6668                            Hanover, MD 21076                       Boston, MA 02241-5284
Tallahassee, FL 32314-6668



Franklin Underground LLC                 Gold Medal Environmental of NJ          Hungtington National Bank
509 Sterling Hill Road                   PO Box 5249                             PO Box 77077
Sterling, CT 06377                       New York, NY 10008-5249                 Minneapolis, MN 55480-7777




Fuller Automotive Group, Inc.            Graybar-                                HymanBros
505 Washington Street                    PO Box 403049                           P.O. Box 637
Auburn, MA 01501                         Atlanta, GA 30384-3049                  11841 Midlothian Tpk.
                                                                                 Midlothian, VA 23113



Garrison Flat Tire Shop                  Green Mountain Power Corp               Indeed, Inc.
1200 A Garrison Ave                      PO Box 1611                             Mail Code 5160
Bronx, NY 10474-4711                     Brattleboro, VT 05302-1611              PO Box 660367
                                                                                 Dallas, TX 75266-0367
Infinite WirelessCase  21-11322
                  Solutions, Inc.   Doc 1 Javier
                                           Filed Rodriguez
                                                 09/13/21 Entered 09/13/21 14:25:52    Desc
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24305 Marshburn Drive                       Document
                                          336                Page 25 of 39
                                               Remington Street               10 Acorn Drive
Hockley, TX 77447                          Bridgeport, CT 06610                Andover, MA 01810




Insight-Elite LLC                          JComm LLC                           Johnson Pleasant Realty, LLC
Sean Perryman                              329 Redbud Road                     PO Box 283
1560 Barrett Rd.                           Edgewood, MD 21040                  Auburn, MA 01501-0283
Gwynn Oak, MD 21207



Insurance Tracking Services, Inc.          Jeanine Pendergast                  Jon Moore
9507 South Stanta Monica Blvd.             c/o Spinnaker Trust                 105 Blossom Street
Suite 205                                  123 Free St                         Nashua, NH 03060
Beverly Hills, CA 90210                    Portland, ME 04101



Integration Partners                       Jeremiah Gruebele                   Jorge Esquilin
12 Hartwell Avenue                         642 Route 54                        33 Chestnut Ave #203
Lexington, MA 02421                        Buena, NJ 08310                     Vineland, NJ 08360




Internal Revenue Service                   Jiffy Lube Fleet Service            Jose Cortez
Centralized Insolvency Operation           P.O. Box 7247-6248                  6656 Black Horse
P.O. Box 7346                              Philadelphia, PA 19170-6248         Egg Harbor Township, NJ 08234
Philadelphia, PA 19101-7346



Interstate Towing Inc.                     Joes Auto & Towing, LLC             Jose Rodrigues - DC
1660 Westover Road                         54 Pawtucket Blvd.                  189 Eldert Street
Chicopee, MA 01020                         Tyngsboro, MA 01879                 Brooklyn, NY 11207




Iron Mountain                              John Marsh                          JPMorgan Chase Bank
PO BOX 27128                               2 Colleen Drive                     BAN-MM-NE
New York, NY 10087-7128                    Salem, NH 03079                     PO Box 974675
                                                                               Dallas, TX 75397-4675



IT-Solutions PC, LLC                       John Marsh (Deferred Comp)          JPMorgan Chase Bank, N.A.
2032 NE 6th Street                         2 Colleen Drive                     50 Rowes Wharf
Cape Coral, FL 33909                       Salem, NH 03079                     Floor 02
                                                                               Boston, MA 02110



Jaguar Graphics                            John Wade III                       JPMorgan Chase Bank, N.A.
Three Southside Rd., Unit 1                10 Acorn Drive                      SBLC Group
Danvers, MA 01923                          Andover, MA 01810                   21591 Network Place
                                                                               Chicago, IL 60673-1215



JAMS, Inc.                                 John Wade IV                        JT Wiring
P.O. Box 845402                            106 Bedford Ave. #2R                37A Rebecca Cir.
Los Angeles, CA 90084                      Brooklyn, NY 11249                  Hudson, NH 03051
               Case 21-11322
Juan Ramirez Laguna                 Doc 1 Liberty
                                           Filed 09/13/21     Entered
                                                  Mutual Insurance      09/13/21
                                                                   - Loss Runs   14:25:52    Desc Main
                                                                                    Mach V Group,   LLC
54 Springville Road                         Document
                                          P.O. Box 1449     Page 26 of 39           801 Perimeter Road
Hampton Bays, NY 11946                     New York, NY 10116-1449                 Manchester, NH 03103




K&J Automotive LLC                         Liberty Utilities -103                  Maine Department of Labor
87 Verdi Street                            75 Remittance Drive                     54 State House Station
Farmingdale, NY 11735                      Suite 1032                              Augusta, ME 04333-0054
                                           Chicago, IL 60675-1032



Kama Owens                                 Liberty Utilities -104                  Maine Department of Revenue
1904 E 31st Street, Apt. 3                 75 Remittance Drive, Suite 1032         PO Box 1057
Baltimore, MD 21218                        Chicago, IL 60675-1032                  Augusta, ME 04332-1057




Keating Muething & Klekamp PLL             Lindblom Landscaping & Home Repair      Maine Department of Revenue
1 East Fourth St. #1400                    One Eames Drive                         Compliance Division
Cincinnati, OH 45202                       Auburn, MA 01501                        PO Box 1060
                                                                                   Augusta, ME 04332-1060



KLR Executive Search Group                 Lobato's Cleaning Services              Marie Wade
951 North Main Street                      37 Royal Crest                          70 Navilus Road
Providence, RI 02904                       Apt 8                                   Tewksbury, MA 01876
                                           Nashua, NH 03060



Koscom Cable Inc.                          Locke Lord LLP                          Marlin Leasing Corporation
110 Brickell Bay Drive                     PO Box 301170                           PO Box 13604
Apt 56C                                    Dallas, TX 75303-1170                   Philadelphia, PA 19101-3604
Miami, FL 33131



Lantech Communications LLC                 Lori Wenetta                            Marquavrius Johnson
24 Mckinley Lane                           15 Beverly Ave.                         300 Bakertown Road, Apt. 17G
Streamwood, IL 60107                       Salem, NH 03079                         Antioch, TN 37013




Law Office of George W. Thibeault          LS Automotive                           Marquis Properties
181 Caterina Height                        1395 Providence Rd.                     10411 Hall Industrial Drive
Concord, MA 01742                          Whitinsville, MA 01588                  Fredericksburg, VA 22408




Lawrence Keller                            Luis Nevarez-Rodriguez                  Mary Anne Cook
307 Bridgewood Circle                      906 Palermo Road                        P.O. Box 364
Murrysville, PA 15668                      St. Augustine, FL 32086                 Carrolltown, PA 15722




Liberty Mutal Insurance                    M.A.W.C.                                Maryland Fleet Center, LLC
PO Box 1449                                P.O. Box 800                            5199 Raynor Avenue
New York, NY 10116-1449                    Greenspring, PA 15601-0800              Linthicum Heights, MD 21090
Maryland State Case
                Police 21-11322     Doc 1 Masterman's,
                                           Filed 09/13/21
                                                        LLP     Entered 09/13/21 14:25:52
                                                                                    Michael &Desc
                                                                                              EmilyMain
                                                                                                     Dull
Licensing Division                          Document
                                          11C                 Page
                                               Street, P.O. Box 411 27 of 39        26 Summit Avenue
1111 Reisterstown Road                      Auburn, MA 01501                        Somerville, MA 02143
Pikesville, MD 21208



Maryland Transportation Authority           Matrix Cable, LLC                       Michael Brannon
P.O. Box 12853                              10711 Trade Rd. Suite 2B                221 Middleton St
Baltimore, MD 21297-7600                    Richmond, VA 23236                      Riverside, NJ 08075




Maryland Unemployment Insurance Fund        Matrix Design Group                     Michael DiDonato
PO Box 17291                                11 Melanie Lane                         13 Carell Road
Baltimore, MD 21297-0365                    Suite 14                                Peabody, MA 01960
                                            E. Hanover, NJ 07936



Mashpee Police Department                   Matthew Dasilva.                        Michael Long-POV
19 Frank Hicks Drive                        75 Dartmouth St                         13 Pinewood Drive
Mashpee, MA 02649                           New Bedford, MA 02740                   Pelham, NH 03076




Mass Port                                   Mayes Auto Center                       Micro Center
Parking Violations Bureau                   12 Commerce Parkway Ste 103             P.O. Box 848
PO Box 51067                                Fredericksburg, VA 22406                Hilliard, OH 43026-0848
Boston, MA 02205-1067



Massachusetts Capital Resource Co           Merchants Automotive Group              Milford Police Department
420 Boylston Street                         14 Central Park Drive                   19 Garden St
# 5                                         First Floor                             Milford, NH 03055
Boston, MA 02116                            Hooksett, NH 03106



Massachusetts Department of Revenue         Merchants Automotive Group              Mill Road Associates, LLC
100 Cambridge Street                        P.O. Box 414438                         281 W. Atlantic Boulevard
2nd Floor                                   Boston, MA 02241-4438                   Ocean City, NJ 08226
Boston, MA 02114



Massachusetts Department of Revenue         Methodist Healthcare                    Millenium Comm Group Inc
Bankruptcy Unit                             P.O. Box 71115                          11 Melanie Ave.
P.O. Box 9564                               Charlotte, NC 28272-1115                Suite 14
Boston, MA 02114-9564                                                               East Hanover, NJ 07936



Massachusetts Growth Capital Corp           Metz Realty, Inc.                       Mineola Justice Court
529 Main Street                             5 Industrial Way #2D                    Inc. Village of Mineola
Suite 201                                   Salem, NH 03079                         155 Washington Avenue
Charlestown, MA 02129                                                               Mineola, NY 11501-2410



MassDOT-Registry                            MGCC                                    MJK Networking Solutions LLC
Registry of Motor Vehicles                  Schrafft's City Center                  27 Eastman St.
P.O.Box 55889                               529 Main Street, Suite 201              South Easton, MA 02375
Boston, MA 02205-5889                       Charlestown, MA 02129
                 Case 21-11322
MK-1 Communication      Inc.       Doc 1 MPEG
                                          Filed 09/13/21      Entered
                                                 Communications  Corp. 09/13/21 14:25:52    Desc Main
                                                                                   National Grid
3065 Chestnut Hill Drive                   Document
                                         980                Page 28 of 39
                                              N. Federal Highway                   PO Box 11735
Ellicott City, MD 21043                   #110                                       Newark, NJ 07101-4735
                                          Boca Raton, FL 33432



MK-1 Communication Inc.                   MPEG Communications Corp.                  National Grid - 01 (Gas)
3065 Chestnut Hill Dr.                    980 N. Federal Hwy #110                    P.O. Box 11735
Ellicott City, MD 21043                   Boca Raton, FL 33432                       Newark, NJ 07101-4735




Modern Auto Glass LLC                     Mr. Handyman of Pittsburgh East Suburbs    National Grid - 02 (Gas)
1635 Shawsheen Street                     Reeping Enterprises, LLC                   PO Box 11791
Tewksbury, MA 01876                       4491 School Rd. South                      Newark, NJ 07101-4791
                                          Murrysville, PA 15632



Modern Pest Services                      Multiplex Network Inc.                     National Grid - 32 (Elec)
100 Pleasant Street                       324 Tudor Lane                             PO Box 11736
Brunswick, ME 04011                       Middle Island, NY 11953                    Newark, NJ 07101-4736




Moldcable Inc.                            Multiplex Network Inc.                     National Grid - TW210
1080 N. Delaware Ave. #511                324 Tudor Ln.                              P.O. Box 29791
Philadelphia, PA 19125                    Middle Island, NY 11953                    New York, NY 10087-9791




Monson Fleet Management Services          MVPS                                       Navitas Credit Corp.
71 Capital Ave., Ste. 109                 1 Express Drive                            PO Box 935204
Fredericksburg, VA 22406                  Wareham, MA 02571                          Atlanta, GA 31193-5204




Montgomery County                         N&E Communications LLC                     Neptune Web Inc.
PO Box 10549                              107 W Dudley Road                          19 Muzzey St.
Rockville, MD 20849                       Dudley, MA 01571                           Suite 205
                                                                                     Lexington, MA 02421



Montgomery County, MD                     Nashua School District                     New Comm LLC
Citation Processing Center                141 Ledge St.                              10 Linden St.
PO Box 1426                               Nashua, NH 03060                           Framingham, MA 01702
Rockville, MD 20849-1426



Morgan, Brown & Joy LLP                   Nassau County, Photo Enforcement           New Hampshire Department of Revenu
200 State Street                          Photo Enforcement Division                 PO Box 637
Boston, MA 02109-2605                     998 East Old Country Rd.                   Concord, NH 03302-0637
                                          Plainview, NY 11803



Morse Technologies                        Nation Wide Ladder & Equipment Co., Inc. New Hampshire Department of RevenuA
12 Stiles Road                            180 Rockingham Road                      Pierre O. Boisvert, Collection Division
Suite 203                                 Windham, NH 03087                        P.O. Box 454
Salem, NH 03079                                                                    Concord, NH 03301
New HampshireCase     21-11322
                Employment SecurityDoc 1    Filed 09/13/21
                                           NHDOT    E-ZPass   Entered 09/13/21 14:25:52     DescDepartment
                                                                                  North Carolina  Main     of Revenu
45 South Fruit Street                      NHDocument        Page
                                               E-ZPass Customer    29 of 39
                                                                Service           PO Box 25000
Concord, NH 03301                          54 Regional Drive                      Raleigh, NC 27640-0640
                                           Concord, NH 03301-8502



New Jersey Department of Labor             Nicholas J Battey Construction, Inc.     North Carolina Department of Revenu
Division of Employer Accounts              PO Box 1305                              Attention: Bankruptcy Unit
P.O. Box 379                               Block Island, RI 02807                   Post Office Box 1168
Trenton, NJ 08625-0379                                                              Raleigh, NC 27602-1168



New Jersey Division of Taxation            Nicholas Tensen                          Northeast Public Power Association
Bankruptcy Section                         169 Sagamore Street                      200 New Estate Rd.
P.O. Box 245                               South Hampton, MA 01982                  Littleton, MA 01460
Trenton, NJ 08695-0267



New Jersey Division of Unemployment Insu Nicholas Tensen                            Noyes Automotive & Tire LLC.
New Jersey Department of Labor           169 Sagamore St. - UnitA                   777 Pine Street
PO Box 058                               So. Hamilton, MA 01982                     Burlington, VT 05401
Trenton, NJ 08625-0058



New York City, Department of Finance       Nicholas Tensen (Deferred Comp)          NY Trucking & Delivery Association
One Centre Street                          169 Sagamore Street                      NYTDA Fees and Fines
22nd Floor                                 South Hampton, MA 01982                  1706 Sheepshead Bay Rd, 2nd Fl.
New York, NY 10007                                                                  Brooklyn, NY 11235



New York State Department of UnemploymenNICUSA                                      NYC Department of Finance
NYS Department of Labor                 PO Box 417439                               Red Light Camera Unit
Building 12                             Boston, MA 02241-7439                       Church Street Station
W A Harriman Campus                                                                 New York, NY 10008-3641
Albany, NY 12240

NewComm                                    Night Runner Cleaning Co.                NYC Department of Finance - Bus
10 Linden Street                           Mark Desmarais                           Bus Lane Camera Unit
Framingham, MA 01702                       49 Unit A Maple Street                   PO Box 3641
                                           Wilton, NH 03086                         New York, NY 10008-3641



NewComm                                    Nissan Richmond                          NYC Department of Finance - Parking
10 Linden St.                              11401 West Broad Street                  Church Street Station
Framingham, MA 01702                       Richmond, VA 23233                       PO Box 3641
                                                                                    New York, NY 10008-3600



NewWin Consulting Group                    NJ E-ZPass Violation Processing Center   NYC Department of Finance - SchoolZo
523 W Sixth St                             Violation Processing Center              School Zone Camera Unit
Lititz, PA 17543                           PO Box 4971                              PO Box 3641
                                           Trenton, NJ 08650                        New York, NY 10008-3641



Nexlink Communications LLC                 NLS Cables, Inc.                         NYC Department of Finance - Tax
3355 Bald Mountain Rd.                     250 Meadow Ridge Road                    PO Box 15200
Suite 10                                   Galloway, NJ 08205                       Albany, NY 12212-5200
Auburn Hills, MI 48326
               Case 21-11322
NYC Dept of Finance                 Doc 1 Ohio
                                           FiledBureau
                                                 09/13/21    Entered
                                                       of Workers     09/13/21 14:25:52
                                                                  Compensation             Desc Main
                                                                                  Pamela Norton
PO Box 3615                                 Document
                                          P.O. Box 89492   Page 30 of 39          13 Buckingham Rd.
Church Street Station                      Cleveland, OH 44101-6492              Tewksbury, MA 01876
New York, NY 10008-3615



NYS Department of Motor Vehicles           Online Installations                  Parking Clerk - Fall River
Revenue Accounting                         839 Bay Ave., Floor 1                 City of Fall River
PO Box 2409                                Somers Point, NJ 08244                Room 324, One Government Ctr.
Albany, NY 12228-0409                                                            Fall River, MA 02722



NYS Dept. of Taxation & Finance            Open Cape Corporation                 Parking Clerk, Town Hall
Bankruptcy Unit-TCD                        PO Box 1148                           5 Beach Rd
Building 9, Room 455                       Barnstable, MA 02630                  Salisbury, MA 01952
W A Harriman Campus
Albany, NY 12227

NYS Dept. of Taxation & Finance            OptConn, Inc.                         Parking Clerk, Town of Brookline
Bankruptcy Section                         19 Norfolk Ave.                       P.O. Box 470708
P.O. Box 5300                              S. Easton, MA 02375                   Brookline, MA 02447-0708
Albany, NY 12205-0300



NYS Lens Program                           Optimum                               Parkside
207 Genesee Street                         Cablevision                           219 Ruth Road
Ste 6                                      P.O. Box 70340                        Harleyville, PA 19438
Utica, NY 13501-2874                       Philadelphia, PA 19176-0340



NYS Unemployment Insurance Fund            Optimum                               Patient First Owings Mill
PO Box 55140                               PO Box 70340                          P.O. Box 758952
Albany, NY 12201                           Philadelphia, PA 19176-0340           Baltimore, MD 21275-8952




Oak Ridge Hauling                          Orkin Pest Control                    Paycom Payroll, LLC
307 White Street                           PO Box 740847                         7501 W Memorial Road
Danbury, CT 06810                          Cincinnati, OH 45274-0847             Oklahoma City, OK 73142




Office of the Attorney General             OSS-IM View Technology Group          PDA Corporate Stores Division I, LLC
Fair Labor Division                        Unit 8-10, 2100 Forbes Street         XX-XXXXXXX
Commonwealth of Massachusetts              Whitby, ON L1N 9T3                    Dept #161, P.O. Box 1000
One Ashburton Place, 18th Floor            CANADA                                Memphis, TN 38148-0161
Boston, MA 02108

Office of the Parking Clerk - CAM          Palmer Lock & Key                     Pennsylvania Department of Revenue
PO Box 399113                              RLockshop Inc.                        PO Box 280427
Cambridge, MA 02139                        407 Route 44                          Harrisburg, PA 17128-0427
                                           Raynham, MA 02769



Ogletree Deakins                           Palmeri Electric LLC                  Pennsylvania Department of Revenue
50 International Drive                     679C Mohawk Trail                     Department 280946
Patewood IV, Suite 200                     Shelburne Falls, MA 01370             Attn: Bankruptcy Division
Greenville, SC 29615                                                             Harrisburg, PA 17128-0946
                Case 21-11322
Penske Truck Leasing   Co., L.P.     Doc 1 Porchlight
                                            Filed 09/13/21
                                                      VNA      Entered 09/13/21 14:25:52    Desc Main
                                                                                   Ralph Pallerino
P.O. Box 827380                              Document
                                           2024  Westover Rd. Page 31 of 39        238 Woodland Drive
Philadelphia, PA 19182-7380                 Chicopee, MA 01022                       New Wilmington, PA 16142




Pep Boys --Remittance Dept.                 Premier Pest Control, Inc.               Raps Auto Parts Supply, Inc. (NAPA)
P.O. Box 8500-50445                         P.O. Box 425                             P.O. Box 291
Philadelphia, PA 19178-0445                 Granby, MA 01033                         Auburn, MA 01501




Peter William Properties, LLC               Prince George's County - Maryland Auto   RBG Inc.
890 East St. Suite 2                        Maryland Automated Enforcement Program   317 Rte 27
Tewksbury, MA 01876                         PO Box 13286                             Raymond, NH 03077
                                            Baltimore, MD 21203



Philadelphia Department of Revenue          Pro-Tech Communications, LLC             RCN
1401 John F Kennedy Blvd                    18 Wooster St.                           956 Massachusetts Ave.
Philadelphia, PA 19102                      Bethel, CT 06801                         Arlington, MA 02476




Phoenix Financial Services LLC              Pro-Tech Communications, LLC             Re-Source Office Furniture
PO Box 361450                               Timothy Sumler                           50 A Northwestern Dr. #2
Indianapolis, IN 46236-1450                 18 Wooster St.                           Salem, NH 03079
                                            Bethel, CT 06801



Pierre Kairouz                              Professional Account Management, LLC     Regency Recycling Corp.
112 Barnstable Road                         New Jersey E-ZPass                       248-10 Brookville Blvd.
Hyannis, MA 02601                           PO Box 1642                              Rosedale, NY 11422
                                            Milwaukee, WI 53201-1642



Pitney Bowes Inc.                           PSE&G - Edison                           Regents Capital Corporation
PO Box 37189696                             PO Box 14444                             3200 Bristol Street -- Suite 400
Pittsburgh, PA 15250-7896                   New Brunswick, NJ 08906-4444             Costa Mesa, CA 92626




Place Motor Inc.                            PSE&G - Long Island                      Regional Dumpster Rental
19 Thompson Road                            PO Box 9039                              VC INvestment Group LLC
Webster, MA 01570                           Hicksville, NY 11802-9039                P.O. Box 295
                                                                                     Wilmington, MA 01887



Planet Professional                         Purchase Power                           Registry of Motor Vehicles - Haverill
P.O. Box 845054                             PO Box 371874                            Four Summer Street
Boston, MA 02284-5054                       Pittsburgh, PA 15250-7874                Haverhill, MA 01830




Pohanka Nissan-Hyundai                      Quality Handyman Service                 Reliabile High Performance Products, In
5200 Jefferson Davis Hwy.                   8007 Allendale Dr                        123 Easy Street
P.O. Box 389                                Hyattsville, MD 20785                    Carol Stream, IL 60188
Fredericksburg, VA 22408
Republic ParkingCase  21-11322
                  System          Doc 1 Robert
                                         Filed 09/13/21
                                               A. Landry  Entered 09/13/21 14:25:52    Desc Main
                                                                              Ruben Klein
Municipal Citation Solutions            4 Document
                                          Seminole Cir.  Page 32 of 39        2 Hamilton Way
ATTN: Processing Department              Andover, MA 01810                   Newburyport, MA 01950
Chattanooga, TN 37450



Republic Services                        Robert Chiari Sr.                   Ryder Transportation Services
P.O.Box 9001099                          10 Martin Dr                        P.O. Box 96723
Louisville, KY 40290-1099                Bridgeton, NJ 08302                 Chicago, IL 60693




Reserve Account (Pitney Bowes Prepay)    Robert Gould                        S.C. Department of Revenue and Texa
PO Box 223648                            c/o Spinnaker Trust                 P.O. Box 12265
Pittsburgh, PA 15250-2648                123 Free St                         Columbia, SC 29211-9979
                                         Portland, ME 04101



RI Division of Taxation                  Robert Half Management Resources    Safelite Fulfillment, Inc
Bankruptcy Unit                          12400 Collections Center Dr.        P.O. Box 633197
One Capitol Hill                         Chicago, IL 60693                   Cincinnati, OH 45263-3197
Providence, RI 02908



Richard Smith                            Robert Prady                        Safety Trainers
318 Fashion Circle                       167 Sunrise Drive                   PO Box 3488
Newark, DE 19711                         Irwin, PA 15642                     Worcester, MA 01613




Rickie Harris                            Robert R. Newell                    Salesforce.com Inc.
11 Sunset ln                             c/o NewWin Consulting Group         P.O. Box 203141
Bridgeton, NJ 08302                      523 W. Sixth St.                    Dallas, TX 75320-3141
                                         Lititz, PA 17543



Ricoh                                    Rocco's Collision Center            Sary Bala, LLC
Financial Services, LLC                  1431 North Black Horse Pike         181 Glen Park Dr. #1
PO Box 41564                             Blackwood, NJ 08012                 Cordova, TN 38018
Philadelphia, PA 19101-1564



Ricoh                                    Rocking Nissan of Stafford          SC DEW
PO Box 827577                            One Coachman Circle                 Document Control-Bankruptcy
Philadelphia, PA 19182-7577              Stafford, VA 22554                  P.O. Box 995
                                                                             Columbia, SC 29202-0995



Ricoh 603-0143285                        Ronette Vallozzi                    Sean H. O'Brien
PO Box 10306                             15 Darmouth Drive                   Nine Darling Street
Des Moines, IA 50306-0306                Greensburg, PA 15601                Marblehead, MA 01945




RICOH USA, INC.                          Roto-Rooter Service Company         Selco -- Shrewsbury
21146 Network Place                      5672 Collections Center Drive       100 Maple Avenue
Chicago, IL 60673-1211                   Chicago, IL 60693-0056              Shrewsbury, MA 01545
               Case 21-11322
Service Tech Communications        Doc 1 Shirley
                                          Filed 09/13/21
                                                 Randolph    Entered 09/13/21 14:25:52     Desc
                                                                                 Southeastern    Main Physicians LL
                                                                                              Emergency
Nine Sandy Run Road                        Document
                                         6105  Walder BrookPage
                                                            Rd. 33 of 39         PO Box 740023
Yardley, PA 19067                         Richmond, VA 23234                         Cincinnati, OH 45274-0023




Service Tire Truck Centers, Inc.          Shrewsbury Electric and Cable Operations   Southwestern Car Care
2255 Avenue A                             100 Maple Ave.                             5534 Southwestern Blvd
Bethlehem, PA 18017-2165                  Shrewbury, MA 01545                        Arubtus, MD 21227




SES ESOP Strategies                       SHS Flatlands LLC                          Spectrum Cable
555 City Ave., Suite 910                  12501 Flatlands Ave.                       768 Academy Road
Bala Cynwyd, PA 19004                     Brooklyn, NY 11208                         Cape May, NJ 08204




SES Winding Up Corporation, fka SES Advi Shutesbury                                  SpeeDee of Auburn, Inc.
555 City Ave., Suite 910                 Shutesbury Town Hall                        505 Washington Street
Bala Cynwyd, PA 19004                    Gayle Huntress                              Auburn, MA 01501
                                         1 Cooleyville Rd.
                                         Shutesbury, MA 01072

Seth Louro-POV                            Simm Lane, LLC                             Spinnaker Trust
249 Chestnut St.                          55 Church Street                           123 Free Street
New Bedford, MA 02740                     Suite 204                                  Portland, ME 04101
                                          New Haven, CT 06510



Seyfarth Shaw, LLP                        SJS Communications Inc.                    Sprague Energy
3807 Collections Center Dr.               26 Hutchinson St.                          185 International Dr.
Chicago, IL 60693                         Springfield, MA 01119                      Portsmouth, NH 03081




Shantay Stevenson                         Skylink Communications                     Sprint-761064343
1032 Stoddard Court                       117A Manchester Street                     PO Box 4191
Baltimore, MD 21201                       Lowell, MA 01852                           Carol Stream, IL 60197-4191




Sharon Wade                               SmartProcure, Inc.                         SSG Advisors, LLC
10 Acorn Drive                            PO Box 4968                                300 Barr Harbor Dr.
Andover, MA 01810                         Deerfield Beach, FL 33442-4968             West Conshohocken, PA 19428




SHE Software Inc.                         South Burlington Water Dept.               St. John Properties, Inc.
625 W. Adams Street                       403 Queen City Park Rd                     PO Box 62771
Floor 19, Office 151                      S Burlington, VT 05403-6900                Baltimore, MD 21264-2771
Chicago, IL 60661



ShelterPoint Life                         South Carolina Department of Revenue       Stadium Graphics LLC
PO Box 9340                               PO Box 125                                 33 Blueberry Lane
Garden City, NY 11530                     Columbia, SC 29214-0032                    Peterborough, NH 03458
Stafford CountyCase   21-11322
                 Treasurer          Doc 1 State
                                           Filedof09/13/21  Entered
                                                   New Hampshire     09/13/21 14:25:52
                                                                 - Audit                  Desc Comptroller
                                                                                 Suffolk County  Main
PO Box 5000                               NHDocument
                                               DRA         Page 34 of 39         Red Light Safety Program
Stafford, VA 22555-5000                    Audit Division                             P.O. Box 778
                                           Concord, NH 03302-0457                     Baltimore, MD 21203-0778



Star Linesmen, LLC                         State of New Hampshire - Form AU-22        Suffolk County Sewer Districts
4009 Hill Avenue                           Audit Division                             335 Yaphank Avenue
Bronx, NY 10466                            PO Box 457                                 Yaphank, NY 11980-9608
                                           Concord, NH 03302-0457



Star Linesmen, LLC                         State of New Hampshire - Rev               Sugar Hill Auto Service
4009 Hill Ave.                             NH Dept. of Revenue                        153 Sugar Street
Bronx, NY 10466                            PO Box 637                                 Newtown, CT 06470
                                           Concord, NH 03302-0637



State Corporation Commission               State of New Hampshire-Tax                 Sugar River Storage LLC
PO Box 7607                                NH DRA                                     427 Washington St., Ste. #2
Merrifield, VA 22116-7607                  PO Box 1265                                Claremont, NH 03743
                                           Concord, NH 03302-1265



State of California                        State of New Jersey - Div of Employer Ac Sullivan Tire Co. Inc
PO Box 942857                              Dept. of Labor & Work Develop            Attn: Credit Department
Sacramento, CA 94257-0531                  Division of Employer Accounts            PO BOX 370
                                           Trenton, NJ 08646-0059                   Rockland, MA 02370



State of California Franchise Tax Board    State of New Jersey, Division of Taxatio   Summit Financial Corporation
PO Box 942840                              PO Box 193                                 300 Ballardvalle Street
Sacramento, CA 94240-0040                  Trenton, NJ 08646-0193                     Wilimington, MA 01887




State of California Franchise Tax Board    State of Rhode Island                      Susan Knight
Bankruptcy Section MS A340                 Division of Taxation                       215 Isinglass Road
PO Box 2952                                PO Box 9702                                Shelton, CT 06484
Sacramento, CA 95812-2952                  Providence, RI 02940-9702



State of CT - DOR                          Stephen D. Rosenberg                       Swerdlin & Company
State of CT, Voluntary Disclosure          Wagner Law Group, PC                       5901 Peachtree Dunwoody Rd.
Attn: Brian Lux                            125 Hight St                               Building B, Suite 170
Hartford, CT 06103-1837                    Oliver Street Tower, 5th Fl                Atlanta, GA 30328
                                           Boston, MA 02110

State of Georgia, Department of Revenue    Stonybrook Water Co.                       T & D Towing Corporation
PO Box 740397                              11 Beach Street, Unit B                    162 Sea Cliff Ave
Atlanta, GA 30374-0397                     Manchester, MA 01944                       Glen Cove, NY 11542




State of Maryland                          Stop & Go Instant Oil Change, LLC          T.K. Lyden
Post Office Box 17648                      668 Putney Road                            PO Box 531
Baltimore, MD 21297                        Brattleboro, VT 05301                      Templeton, MA 01468
Taunton MunicalCase  21-11322
                Lighting Plant    Doc 1 Tennessee
                                         Filed 09/13/21
                                                  DepartmentEntered     09/13/21 14:25:52
                                                               of Revenue                     Desc Main
                                                                                    Town of Auburn
55 Weir Street                          c/oDocument        Page
                                            Tennessee Attorney    35 of Office
                                                                General's 39        Office of the Tax Collector
Taunton, MA 02780-0870                    Bankruptcy Division                        104 Central St
                                          P.O. Box 20207                             Auburn, MA 01501
                                          Nashville, TN 37202-0207

Taylor Wade                               Tesla Finance LLC                          Town of Babylon
10 Acorn Drive                            1410 SW Morrison, #700                     Solid Waste Management
Andover, MA 01810                         Portland, OR 97205                         281 Phelps Lane, Room 19
                                                                                     N Babylon, NY 11703



TC Boring                                 Three Rivers Builders                      Town of Bridgewater
Charles Burnsworth                        8338 Veterans Hwy., Ste. 204A              Bridgewater Police Dept.
760 Coal Street                           Millersville, MD 21122                     220 Pleasant St.
Adah, PA 15410                                                                       Bridgewater, MA 02324



TCF National Bank                         Tilson                                     Town of Brookline
PO Box 77077                              16 Middle Street                           Public Safety Business Office
Minneapolis, MN 55480-7777                4th Floor                                  350 Washington Street
                                          Portland, ME 04101                         Brookline, MA 02445



TeamLogic IT                              TMLP                                       Town of Charlemont
12 Tower Office Park                      PO Box 870                                 157 Main Street
Woburn, MA 01801                          Taunton, MA 02780                          Charlemont, MA 01339




Tech Bro's, LLC                           Todd & Weld LLP                            Town of Chesterfield
200 Battlefield Rd.                       One Federal Street                         422 Main Road
Locust Grove, VA 22508                    Boston, MA 02110                           Chesterfield, MA 01012




Tech Tool Supply                          Tolls by Mail                              Town of Cummington
9060 General Drive                        Processing Center                          33 Main St.
Plymouth, MI 48170                        PO Box 15183                               Cummington, MA 02016
                                          Albany, NY 12212-5183



Tech Tool Supply                          Tom & Arties Auto Service                  Town of Farmington
9060 General Drive                        8909 Ditmas Avenue                         Police Extra Duty
Plymouth, MI 48170-4624                   Brooklyn, NY 11236                         One Monteith Drive
                                                                                     Farmington, CT 06032-1053



Technical Media Technicians LLC           Top Tier Cable                             Town of Glastonbury
3014 Northway Dr.                         81 Pondfield Rd., Ste. D223                Accounting Department
Baltimore, MD 21234                       Bronxville, NY 10708                       P.O. Box 6523
                                                                                     Glastonbury, CT 06033



Tennessee Department of Revenue           Tower Electric, LLC                        Town of Goshen
Andrew Jackson St. Office Bldg.           578 North Westfield St                     40 Main Street
500 Deaderick Street                      Feeding Hills, MA 01030                    Goshen, MA 01032
Nashville, TN 37242
               Case 21-11322
Town of Greenwich                Doc 1 Town
                                        Filedof09/13/21     Entered 09/13/21 14:25:52
                                                 Provincetown                            Desc Main
                                                                                Town of Swansea
Department of parking Services           Document
                                       Police Department Page 36 of 39          Swansea Police Dept.
PO Box 1665                             26 Shankpainter Road                    1700 G.A.R. Highway
Greenwich, CT 06836-1665                Provincetown, MA 02657                  Swansea, MA 02777



Town of Heath                           Town of Randolph                        Town of Tewksbury- Excise Tax Divi
1 East Main Street                      Police Department                       Excise Tax Division
Heath, MA 01346                         41 South Main Street                    PO Box 754
                                        Randolph, MA 02368                      Reading, MA 01867



Town of Manchester                      Town of Riverdale Park                  Town of Tewksbury- Property Tax Dv
494 Main Street                         PO Box 17471                            Property Tax Division
Manchester, CT 06045                    Baltimore, MD 21297-1471                PO Box 754
                                                                                Reading, MA 01867



Town of Milton                          Town of Rockland                        Town of West Hartford
Parking Clerk                           Rockland Police Department              West Hartford Police Dept.
P.O. Box 447                            490 Market St.                          103 Raymond Road
Marlborough, MA 01752                   Rockland, MA 02370                      West Hartford, CT 06107



Town of Needham                         Town of Sandwich                        Town of Windsor
Police Department                       Sandwich Police Department              1890 Route 9
99 School St.                           255 Cotuit Road                         Windsor, MA 01270
Needham, MA 02492-0915                  Sandwich, MA 02563



Town of Newtown                         Town of Saugus                          Treasurer State of NJ
Tax Collector                           298 Central St.                         Mr. Stephen Speicher, CPM
Dept. 1300, P.O. Box 4110               Saugus, MA 01906                        NJ Division of Fire Safety
Woburn, MA 01888-4110                                                           Trenton, NJ 08625-0809



Town of Newtown                         Town of Scituate                        Tri-D III, LLC
Department of Police Services           Police Details                          PO BOX 1
3 Main St.                              800 C J Cushing Highway                 Winooski, VT 05404
Newtown, CT 06470                       Scituate, MA 02066



Town of Pembroke                        Town of Seekonk - police detail         TSO East Pointe, LLC
Police Department                       Office of Treasurer/Collector           6363 Poplar Ave., Ste. 400
80 Center St.                           100 Peck St.                            Memphis, TN 38119
Pembroke, MA 02359                      Seekonk, MA 02771



Town of Petersham                       Town of Shrewsbury                      Tucker Ellis LLP
PO Box 486                              30 Municipal Drive                      P.O. Box 74717
Petersham, MA 01366                     Shrewsbury, MA 01545                    Cleveland, OH 44194-4717




Town of Plainville                      Town of Somerset - detail               UCX, Inc. (Underground Construction Ex
Finance Department                      Somerset Police Department              Gus Moreira
One Central Square                      465 County Street                       219 W. Boylston St.
Plainville, CT 06062-1955               Somerset, MA 02726                      W. Boylston, MA 01583
               Case 21-11322 Doc 1
United States Attorney                      Filed 09/13/21
                                           Vermont   Department Entered
                                                                of Taxes 09/13/21 14:25:52
                                                                                     WaterlogicDesc   Main
                                                                                                 Americas
John Joseph Moakley United States Federa     Document
                                           133  State Street  Page 37 of 39          PO Box 677867
One Courthouse Way, Suite 9200             Montpelier, VT 05633-1401                 Dallas, TX 75267-7867
Boston, MA 02210



United States Department of Labor - Empl   Vermont Department of Taxes               WB Mason
Boston Regional Office                     PO Box 1181                               P.O. Box 981101
JFK Federal Bldg                           Montpelier, VT 05601-1881                 Boston, MA 02298-1101
15 New Sudbury St, Rm 575
Boston, MA 02203

Upper Chesapeake Emergency                 Vermont Department of Taxes               Westfield Gas & Electric
Medicine Physicians, PLLC                  Bankruptcy Unit, 3rd Fl.                  100 Elm Street
PO Box 412312                              109 State St.                             Westfield, MA 01085
Boston, MA 02241-2312                      P.O. Box 429
                                           Montpelier, VT 05601-0429

USA Hauling & Recycling, Inc.              VIP Tires & Service                       Westwood Police Department
PO Box 808                                 24 Harriman Dr.                           588 High St.
East Windsor, CT 06088                     Auburn, ME 04210                          Westwood, MA 02090




USAble Life                                Virginia Department of Taxation           WEX Bank
P.O. Box 204678                            PO Box 1115                               PO Box 6293
Dallas, TX 75320-4678                      Richmond, VA 23218-1115                   Carol Stream, IL 60197-6293




ValleyNet                                  Virginia Department of Taxation           Wheelabrator Holdco 1 Inc.
415 Waterman Road                          PO Box 2156                               PO Box 844823
Royalton, VT 05068                         Richmond, VA 23218                        Boston, MA 02284-4823




Ventnor City Municipal Court               Virginia Employment Commission            Williams Scotsman, Inc.
6201 Atlantic Ave.                         P.O. Box 26441                            PO Box 91975
Ventnor, NJ 08406                          Richmond, VA 23261-6441                   Chicago, IL 60693-1975




Verizon                                    Virtalink Com, LLC                        Win Waste Innovations
P.O. Box 15062                             612 Main Street                           PO Box 844823
Albany, NY 12212-5062                      Watertown, MA 02472                       Boston, MA 02284-4823




Verizon                                    VITI, INC.                                Windstream
PO Box 15124                               975 Fish Road at Rt. #24                  P.O. Box 9001013
Albany, NY 12212-5124                      Tiverton, RI 02878                        Louisville, KY 40290-1013




Vermont Department of Labor                VSP                                       Winters Bros. Hauling
5 Green Mountain Drive                     c/o Vision Service Plan                   P.O. Box 5279
P.O. Box 488                               P.O. Box 742788                           New York, NY 10008-5279
Montpelier, VT 05601-0488                  Los Angeles, CA 90074-2788
Woburn Square Case
                 Mobil 21-11322    Doc 1   Filed 09/13/21 Entered 09/13/21 14:25:52   Desc Main
23 Pleasant Street                          Document     Page 38 of 39
Woburn, MA 01801




WP City Court-Parking Violations
Parking Violations Office
P.O. Box 6500
White Plains, NY 10602



XStream LLC
12 Straw Hat Road
Apartment 2B
Owings Mills, MD 21117



Yankee Custom, Inc.
1271 Main Street
Tewksbury, MA 01876




Zurich American Insurance Company
Zurich Counsel, White & Williams LLP
Alan J. Charkey, Esq., Ste. 1800
Philadelphia, PA 19103
                 Case 21-11322                    Doc 1          Filed 09/13/21 Entered 09/13/21 14:25:52                Desc Main
                                                                  Document     Page 39 of 39



                                                               United States Bankruptcy Court
                                                                     District of Massachusetts
 In re      Tri-Wire Engineering Solutions, Inc.                                                         Case No.
                                                                                 Debtor(s)               Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Tri-Wire Engineering Solutions, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Spinnaker Trust
 as Trustee of the Tri-Wire Employee
 Stock Option Trust
 123 Free Street
 Portland, ME 04101




    None [Check if applicable]




 September 13, 2021                                                  /s/ Michael J. Goldberg
 Date                                                                Michael J. Goldberg 551869
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Tri-Wire Engineering Solutions, Inc.
                                                                     Casner & Edwards, LLP
                                                                     303 Congress Street
                                                                     Boston, MA 02210
                                                                     617-426-5900 Fax:617-426-8810
                                                                     goldberg@casneredwards.com




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